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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK


JAMES GREENE, JENNIFER SHAAL, OFER                                No. 19-cv-4304 (ILG)(SJB)
SHAAL, JAKE STONE, GUY SHOSHAN, EINAT
EZRA MICHAELI, and YIFAT SHMILOVICH, on
behalf of themselves and all others similarly situated,   RULE 7.1 DISCLOSURE STATEMENT
                               Plaintiffs,

                       v.

KABBALAH CENTRE INTERNATIONAL,
INCORPORATED; KABBALAH CENTRES OF
THE UNITED STATES, INCORPORATED;
KABBALAH CENTRE OF NEW YORK,
INCORPORATED; THE KABBALAH CENTRE OF
FLORIDA, INC.; KABBALAH CHILDREN’S
ACADEMY; KABBALAH ENTERPRISES,
INCORPORATED; KAF INVESTMENTS, LLC; 501
N. LA CIENEGA, LLC; SPIRITUALITY FOR KIDS
INTERNATIONAL, INC.; and KAREN BERG,
YEHUDA BERG, and MICHAEL BERG,

                               Defendants.


To the Clerk of this Court and all parties of record:

       Pursuant to Rule 7.1 of the Federal Rules of Civil Procedure, counsel for Defendants

Kabbalah Centre International, Incorporated; Kabbalah Centres of the United States,

Incorporated; Kabbalah Centre of New York, Incorporated; The Kabbalah Centre of Florida,

Inc.; Kabbalah Children’s Academy; Kabbalah Enterprises, Incorporated; KAF Investments,

LLC; 501 N. La Cienega, LLC; and Spirituality For Kids International, Inc. (collectively, “the

Organizational Defendants”), discloses as follows:




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      Kabbalah Centre International, Incorporated is a Nonprofit Religious Corporation

       organized under the laws of the State of California. It has no parent corporation, and no

       publicly held corporation owns more than 10% of its stock.


      Kabbalah Centres of the United States, Incorporated is a Nonprofit Religious Corporation

       organized under the laws of the State of California. It has no parent corporation, and no

       publicly held corporation owns more than 10% of its stock.


      Kabbalah Centre of New York, Incorporated is a Not For Profit Corporation organized

       under the laws of the State of New York. It has no parent corporation, and no publicly

       held corporation owns more than 10% of its stock.


      The Kabbalah Centre of Florida, Inc. is a Not For Profit Corporation organized under the

       laws of the State of Florida. It has no parent corporation, and no publicly held

       corporation owns more than 10% of its stock.


      Kabbalah Children’s Academy (currently named International Children’s Academy) is a

       Nonprofit Religious Corporation organized under the laws of the State of California. It

       has no parent corporation, and no publicly held corporation owns more than 10% of its

       stock.


      Kabbalah Enterprises, Incorporated is a Stock Corporation organized under the laws of

       the State of California. It is wholly owned by Kabbalah Centre International,

       Incorporated, and no publicly held corporation owns more than 10% of its stock.




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      KAF Investments, LLC is a Limited Liability Company organized under the laws of the

       State of California. It is wholly owned by Kabbalah Enterprises, Incorporated, and no

       publicly held corporation owns more than 10% of its stock.


      501 N. La Cienega, LLC is a Limited Liability Company organized under the laws of the

       State of California. It is wholly owned by Kabbalah Enterprises, Incorporated, and no

       publicly held corporation owns more than 10% of its stock.


      Spirituality For Kids International, Inc. is a Nonprofit Public Benefit Corporation

       organized under the laws of the State of California. It has no parent corporation, and no

       publicly held corporation owns more than 10% of its stock.


Dated: New York, New York
       September 23, 2019

                                             Respectfully submitted,

                                             PROSKAUER ROSE LLP

                                             __/s/ Elise M. Bloom ________
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